UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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In re

PLATINUM-BEECHWOOD LITIGATION.                                            Civil Action No. l 8-cv-6658 (JSR)
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MARTIN TROTT and CHRISTOPHER SMITH, as Joint
Official Liquidators and Foreign Representatives of
PLATINUM PARTNERS VALUE ARBITRAGE FUND
L.P. (in Official Liquidation) and PLATINUM
PARTNERS VALUE ARBITRAGE FUND L.P. (in
Official Liquidation),                                                    Civil Action No. 18-cv-10936 (JSR)
                                     Plaintiffs,

                      -against-
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PLATINUM MANAGEMENT (NY) LLC, et al.,                                       .I   DOCUMENT
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                                             Defendants.
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                                                STIPULATION

         WHEREAS, on March 29, 2019, Plaintiffs Martin Trott and Christopher Smith, as Joint

Official Liquidators and Foreign Representatives of Platinum Partners Value Arbitrage Fund

L.P. (in Official Liquidation) and for Platinum Partners Value Arbitrage Fund L.P. (in Official

Liquidation) (collectively, "Plaintiffs") filed a Second Amended Complaint in the above-

captioned actions ("Second Amended Complaint") (Dkt. 285), which alleges claims for aiding
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and abetting breach of fiduciary duty, aiding and abetting fraud and unjust enrichment against,
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inter alia, Abraham .Grossman ("Grossman") as one of the Preferred Investors of the BEOF

Funds arising from those defendants' alleged receipt of certain distributions in connection with

the alleged Black Elk Scheme (as defined in the Second Amended Complaint) (collectively, the

"Grossman Claims");
               WHEREAS, in the action captioned In re Black Elk Energy Off.shore Operations,

LLC, No. 15-34287, pending in the United States Bankruptcy Court for the Southern District of

Texas, Richard Schmidt has been appointed the Trustee of the Black Elk Litigation Trust (the

"Black Elk Trustee");

       WHEREAS, the Black Elk Trustee also has commenced or may commence adversary

proceedings in which he has alleged or may allege unjust enrichment, fraudulent transfer and/or

other claims against Grossman that arise out of, inter alia, Grossman's alleged receipt of

distributions in connection with his investment in the Black Elk Opportunity Funds (the

"Overlapping Claims");

       WHEREAS, the Plaintiffs and the Black Elk Trustee have entered into an agreement

concerning the Overlapping Claims ("Agreement"), which Agreement provides, inter alia, that

the Overlapping Claims against Grossman will be dismissed with prejudice in this action;

       WHEREAS the Agreement further provides that Plaintiffs in this action will pursue

claims against any defendants that are not Overlapping Claims;

       WHEREAS, the Agreement has been approved by the PPV A Liquidation Committee;

       WHEREAS, the Plaintiffs have submitted the Agreement to the Grand Court of the

Cayman Islands (the "Cayman Court") for approval;

       WHEREAS, upon approval by the Cayman Court, the Agreement will result in dismissal

with prejudice of a number of defendants in this action, to wit, those defendants against whom

only Overlapping Claims have been asserted or remain;

       IT IS HEREBY STIPULATED AND AGREED, by and between the attorneys for the

respective parties hereto, that all discovery and briefing obligations and deadlines between




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Grossman and Plaintiffs with respect to the Overlapping Claims are hereby tolled pending

approval of the Agreement by the Cayman Court; and

       IT IS HEREBY FURTHER STIPULATED AND AGREED, that upon the approval

of the Agreement by the Cayman Court, the Plaintiffs shall take such actions as may be

necessary to dismiss this action with prejudice as against Grossman; and

       IT IS HEREBY FURTHER STIPULATED AND AGREED that nothing in this

Stipulation will have any effect on any claims that are not Overlapping Claims that Plaintiffs in

this Action may otherwise have against Grossman, all rights with respect to which are hereby

preserved and reserved and all defenses with respect to which are also hereby preserved and

reserved; and

       IT IS HEREBY FURTHER STIPULATED AND AGREED, that this Stipulation may

be filed without further notice and, for the purposes of filing this Stipulation, this Stipulation

may be executed in counterparts, which, when taken together, shall constitute the entire

Agreement, and that signatures by facsimile and electronic mail should be considered by the

Court the same as original signatures; and



                           [remainder of page intentionally left blank]




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         IT IS HEREBY FURTHER STIPULATED AND AGREED, Plaintiffs reserve all"

 other rights and remedies at law and equity with respect to Grossman, and Grossman reserves all
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 rights, remedies and defenses at law and equity with respect to Plaintiffs (including di~missal of

 this action with prejudice), none of which rights, re~edies   a,.nct defenses are waived.
 Dated: May~, 2019
 New York, New York

HOLLAND & KNIGHT LLP                              MOSKOWITZ & BOOK, LLP


 By:.___,_,,~--­
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Attorneys for Plaintiffs Martin Trott and         Attorneys for Defendant
Christopher Smith, as Joint Official              Abraham Grossman
Liquidators and Foreign Representatives
ofPlatinum Partners Value Arbitrage
Fund L.P. (in Official Liquidation), and/or
Platinum Partners Value Arbitrage Fund
L.P. (in Official Liquidation)




SO ORDERED:            ~ j_, {)
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                   UNITED STATES DISTRICT JUDGE



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